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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,


                 V.
                                                  Cr.   No.   09-10166-MLW

SALVATORE F.          DIMASI,
        Defendant.


                                  MEMORANDUM AND ORDER


WOLF, D.J.                                                        November 17, 2016


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I.      SUMMARY


        In 2011,       the court sentenced defendant Salvatore DiMasi to

serve        eight    years    in prison    for   extortion and      related crimes
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committed while he was the Speaker of the Massachusetts House of

Representatives.        On October 13,            2016,    the government filed on

behalf of the Director of the Bureau of Prisons {the "Director")

a motion to reduce DiMasi's sentence to time served (the "Motion").

It was filed pursuant to 18 U.S.C. §3582(c)(1)(A)(i), which gives

the court the authority to reduce a sentence if the Director moves

for    a    reduction   and   the     court       finds    that    "extraordinary    and

compelling reasons warrant such a reduction." Absent a motion by

the Director pursuant to the statute the court does not have the

authority to reduce DiMasi's sentence.

       For the reasons described in detail in this Memorandum,                        the

Motion is being allowed.             The court is ordering that DiMasi be

released on November 22,            2016,    in North Carolina, to the custody

of    his   wife   Deborah DiMasi.          Mr.    and    Mrs.    DiMasi   shall   return

forthwith to their residence in Massachusetts.

       DiMasi's conditions of Supervised Release are being modified

to require a period of six months home confinement and that Mrs.

DiMasi assure that DiMasi is monitored while eating or drinking,

by a member of his family or a health care professional his family
may hire, to protect against the risk he will choke and be harmed.

DiMasi, who will not be subject to electronic monitoring, may leave

his residence for any medical emergency or, with the prior approval

of the Probation Office,            for medical appointments and religious

observances.
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     If requested, after three months,         the court will consider

reducing DiMasi's 24-hour home confinement to a curfew.             It may

also consider extending his period of home confinement.

     As ordered previously, DiMasi is prohibited from associating

with his convicted co-defendant Richard McDonough.            In addition,

DiMasi's conditions of Supervised Release are being modified to

prohibit him from working with his acquitted co-defendant Richard

Vitale,   and to prohibit DiMasi and his family from receiving

anything of value from Vitale, to whom DiMasi directed hundreds of
thousands of dollars DiMasi extorted in this case.

     In summary, the reasons for these decisions are as follows.

DiMasi began serving his eight-year sentence in November, 2011.

With credit for "good time," DiMasi would ordinarily be released

i n November 2018.


     In 2012,   DiMasi was found to have cancer in his neck and

tongue. DiMasi was treated with chemotherapy and radiation. This

treatment   required   that   DiMasi   receive    nourishment    through a

feeding tube for about a year. Tests have shown DiMasi to be free

of tongue and neck cancer since at least July 2013.

     However,   the    radiation   treatment     caused   a   narrowing   of

DiMasi's throat. Although there have been nine procedures to dilate

it, his throat remains narrow and DiMasi has substantial difficulty

swallowing. It has been recommended that he eat only pureed food.

Nevertheless, he is at risk of choking when he eats. He is also at
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risk of having food go into his lungs, which has in the past caused

pneumonia and could again.

      In 2015,    DiMasi was       found to have prostate cancer.           It was

treated with radiation.         Tests have       shown DiMasi     to be    free   of

prostate cancer since at least August 2016.

      Beginning in 2015, DiMasi and his attorneys filed a series of

requests for a motion, pursuant to §3582 (c) (1) (A) (i) , for his early

release. These requests were repeatedly denied by the Bureau of

Prisons, evidently as a result of the Bureau's interpretation of

its established standards and its traditional practices.

      Before     2013,    pursuant    to    Bureau   of    Prisons   policy       and

practices, motions for compassionate release were generally filed

only for inmates who were terminally ill. Such motions were rare,

averaging about 24 a year.

      The   Bureau       of   Prisons'      restrictive    policy    for     filing

§3582 (c) (1) (A) (i)    motions    was    criticized by    the   Department       of

Justice Inspector General and various organizations,                      including

Human Rights Watch. In 2013, the Bureau's policy was broadened to

make inmates who are not terminally ill eligible for consideration,

including      elderly    inmates    with    a   serious   medical    condition.

However,    the Department of Justice Inspector General found in

February 2016 that few aging inmates have been the beneficiaries

of motions for compassionate release under the expanded policy. In

an amendment which became effective on November 1, 2016, the United
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States Sentencing Commission encouraged the Bureau of Prisons to

file motions for compassionate release more often and, therefore,

to permit    courts      to decide more often,        after considering the

legally required factors and the Commission's guidance, whether a

reduction of sentence i s warranted.


       In June 2016,      Kathleen Kenney,    the Assistant Director and

General   Counsel   of    the Bureau of    Prisons,    denied DiMasi's        then

most recent request for a compassionate release motion. She noted

that his cancers were in remission, and that he had no physical or

work   limitations.      She   concluded   that   DiMasi   did   not   meet    the

criteria for a      motion for     a   reduction in sentence because his

health was not deteriorating and his ability to function in a

correctional setting was not substantially diminished.

       Bureau of    Prisons    regulations provide that          if   the Bureau

determines that a motion for compassionate release is otherwise

justified, the United States Attorney who prosecuted the case will

be consulted to determine whether he or she objects to the motion

being filed. Therefore, because the Bureau denied DiMasi's request

for a compassionate release motion,           the United States Attorney

ordinarily would not have become involved in this matter.

       However, in July 2016, the four lawyers representing DiMasi

pro bono met, for at least the second time, with the United States

Attorney for the District of Massachusetts, Carmen Ortiz. Ms. Ortiz

then spoke with Ms. Kenney to encourage the Bureau of Prisons to
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reconsider its denial of DiMasi's request for early release. The

Bureau responded promptly and,       ultimately,    positively to this

request.

     On August 3, 2016, the first medical test to measure DiMasi's

ability to swallow since 2014 was performed.

     An August 9, 2016 Bureau of Prisons standard report indicated

that DiMasi's medical condition was stable, that he had a chronic

illness that required at least quarterly evaluation, and that he

was able to function independently.

     On August 11,    2016,   however,   DiMasi's Bureau of Prisons'

doctor characterized DiMasi's medical condition as unstable and

wrote that DiMasi was in the category of fragile outpatients who

require daily to monthly clinical attention.           Interpreting the

August 3, 2016 swallowing test, the doctor noted that: DiMasi's

throat had narrowed; he had great difficulty swallowing; and DiMasi

reported repeated choking while eating. The doctor characterized
DiMasi's condition as chronic, serious, deteriorating and unlikely

to improve with treatment. He stated that DiMasi's ability to

function while in custody was diminished.          The doctor concluded

that DiMasi was "probably" appropriate for a motion for a reduction

in his   sentence.


     On August 15, 2016, at the request of the Associate General

Counsel of the Bureau of Prisons,        the Bureau's Medical Director

reviewed DiMasi's record. The Medical Director wrote the attorney
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that "it is medically indicated that someone be present to assist

[DiMasi] with choking prevention while eating or drinking." DiMasi
is in custody at a low security level facility in Butner, North

Carolina. Butner has a companion program in which inmates provide

assistance to other, impaired inmates. Therefore, the Bureau of

Prisons could, if medically necessary, assign an inmate to monitor

DiMasi when he is eating. However, the Medical Director concluded

that    DiMasi's       health   was    deteriorating     and     substantially

diminished his ability to function in custody. Therefore, he found

DiMasi satisfied the criteria for a reduction in sentence motion

for elderly inmates with medical conditions.

       Such a motion was filed on October 13, 2016. The Motion gives

the court the authority to reduce DiMasi's sentence. It does not,

however, make such a reduction automatic. Nor does it give the

court unfettered discretion.

       Rather,   the    court   is    required   to   weigh    the   applicable

statuto2ry sentencing factors and make a decision that is consistent

with the relevant advisory Sentencing Guidelines.                The relevant

statutory factors include, among others: the defendant's history

and characteristics;        the need to provide him with any required

medical treatment in the most effective manner;               the need for the

sentence to reflect the seriousness of the defendant's crimes; and

the related needs to avoid unwarranted disparities in sentences
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between similarly situated individuals and to promote respect for

the   law.


       The court issued a series of orders that required the parties

to submit evidence and argument regarding the relevant factors. A

hearing on the Motion was also held.

       It is undisputed that DiMasi is not now teminally ill. Tests

indicate      that   he    does   not   now have   throat   or       prostate   cancer.

DiMasi is being held in a low security facility, rather than in a

Bureau of Prisons medical center. With the significant exception

of DiMasi's difficulty in swallowing, he is able to function fully

and independently.

       Nevertheless,        the court finds extraordinary and compelling

reasons warrant reducing DiMasi's sentence to the five years he

has served if certain modifications are made to the conditions of

his Supervised Release.

       The throat and prostate cancer DiMasi has experienced while

in custody were unforeseen when he was sentenced in 2011. If he

had    then    been       suffering     from   cancer,    the    court     would   have

considered imposing a             sentence of      less   than eight years.         The

cancers that DiMasi developed while serving his sentence, and the

fact    that    they could recur,          are now part         of   his   history and

characteristics, and weigh in favor of reducing his sentence.

       Although now cancer free, DiMasi is suffering from a serious

medical condition.          The treatment for his cancer has narrowed his
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throat, requiring a special diet. He is, however, still at risk of

choking whenever he eats. As previously noted, the Medical Director

of the Bureau of Prisons found that "it is medically indicated"

that DiMasi be monitored while eating. This opinion is central to

the court's conclusion that DiMasi's release           is    justified.   The

Bureau of Prisons could provide an inmate companion to monitor

DiMasi when he eats. However,         the court finds that it would be

more effective for his family, and professionals it may hire, to

perform this function.

       DiMasi's release will also serve the interest of providing

him with    the   most   effective   medical   treatment    in another way.

Inmates have a constitutional right to adequate medical care. They

do not have a right to optimal medical care or to the doctors of

their choice. While on Supervised Release, DiMasi will have the

liberty of selecting the doctors and hospitals he wants to treat

him,   and will have the opportunity to obtain what may be better

medical care than he would if he remained in custody.

       In extorting payments in return for using his official power

to cause the Commonwealth of Massachusetts to spend $17,000,000 on

unneeded    and unwanted     software,   DiMasi   committed very    serious

crimes.    Those crimes had victims. As the court said at DiMasi's

sentencing,    those victims included elderly individuals needing

services, and students needing scholarships, that were not funded

because DiMasi corruptly caused $17,000,000 to be misspent. As the
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First     Circuit       agreed,        in    2011      an    eight        year     sentence   was

appropriate        to recognize             the   seriousness of DiMasi's crimes.

However,       there is always a range of reasonable sentences in a

particular case. The five years DiMasi will have served as a result

of the reduction of his sentence is also a significant sentence.

In view of the developments that were unforeseen when DiMasi was

sentenced, the court now finds a five-year sentence sufficient to

reflect the seriousness of his crimes.

        The court also finds that five-year sentence sufficient to

deter     comparable         corrupt     conduct       by others.          Deterrence was      an

important consideration in determining DiMasi's original sentence.

He was the third consecutive Speaker of the Massachusetts House of

Representatives              to   be     convicted          of     a     federal    crime.    His

predecessors were not sentenced to serve time in custody. A then

recent        five-year      sentence       imposed on a               corrupt Mayor was not

sufficient       to     deter DiMasi.         However,           DiMasi's medical       problems

while in prison have now been highly publicized. Knowledge of his

experience should strongly discourage public officials and others

from emulating DiMasi's example.

        The     court     has     also      considered       whether        reducing    DiMasi's

sentence will be consistent with the important statutory interests

of avoiding unwarranted sentence disparities and promoting respect

for     the    law.     As    indicated       earlier,       motions        for    compassionate

release were very rare before the Bureau of Prisons revised its

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policy in 2013, and have continued to be rare for inmates, like
DiMasi, who are not terminally ill. Since 2013,                  the Bureau has

moved for a reduction of sentence for only 11 inmates in DiMasi's

"Elderly with Medical Conditions" category and each of them appears

to have been more debilitated than DiMasi.

     It appears that the Bureau of Prisons' June 2016 denial of

DiMasi's   request     for    a    motion    for    reduction   in   sentence    was

consistent      with         its     usual--and         criticized--restrictive

interpretation of its policy and its standard procedures.                        The

Bureau's attitude and actions concerning DiMasi changed beginning

in July 2016. The record does not indicate that it was influenced

by DiMasi's former status or by the two public officials who wrote

to the Bureau on his behalf. Nor does the record suggest that the

Bureau was affected by the Sentencing Commission's encouragement

to file motions for compassionate release more often.

     Rather,   the conduct of the Bureau of Prisons changed after

DiMasi's     lawyers    persuaded       the        United   States   Attorney     to

intervene,    and she    encouraged the            Bureau's General    Counsel    to

reconsider the denial of DiMasi's request for a motion to reduce

his sentence. This was a deviation from the process prescribed by

the Bureau's regulations. It suggests that the decision to file

the Motion for a reduction of DiMasi's sentence was driven more by

the judgment of lawyers than of medical professionals.



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     However, the government has represented that DiMasi did not

get preferential treatment.             It asserts that the United States

Attorney frequently meets with defense counsel and takes actions

on their behalf if persuaded it is appropriate.                        The Bureau of

Prisons states that it filed the Motion on behalf of DiMasi because

of his medical        condition and would do the               same for any inmate

similarly situated. Although the involvement of the United States

Attorney means the Bureau did not follow its established procedures

with regard to DiMasi, its judgment is supported by the opinions

of doctors and,       therefore, deserves some deference.

     The   future      conduct     of    the      United    States     Attorney    and,

particularly,     the     Bureau    of       Prisons    will     determine    whether

releasing DiMasi now will be consistent with the court' s obligation

to avoid unwarranted disparities in sentencing. If in the future

the Bureau evaluates the requests of elderly,                     ill inmates more

generously and files §3582 (c) (1) (A) (i) motions more frequently,

DiMasi's release will not be injurious to this important interest.

     The future,       of course,       cannot be foretold.            The Sentencing

Commission,     the    Department       of    Justice      Inspector    General,    and

organizations including Human Rights Watch have encouraged the

Bureau of Prisons to file motions for compassionate release more

often when an inmate's health seriously deteriorates while he is

in custody. This would allow courts to perform their traditional

role in weighing all of the competing considerations and deciding

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what sentence is sufficient and no more than necessary for that

inmate.    The    court hopes    that     the decision    in this     case will

contribute to the humane administration of               §3582 (c) (1) (A) (i)    by

the Bureau of Prisons in the future.

       DiMasi's     release     is     justified,   however,     only    if      his

conditions of Supervised Release are modified to,                   among other

things,    address     the   changes    in circumstances       that weigh most

heavily in favor of his release. Pursuant to statute and Bureau of

Prisons policy, eligible inmates usually serve the last six months

of their sentences in a Residential Re-Entry Center and, at times,

in home confinement. It is particularly important that DiMasi be

treated similarly. The Bureau of Prisons substantially justified

its decision to file the Motion on the view it developed in August

2016   that   DiMasi   should be monitored while         eating.    The court's

decision to release DiMasi now rests in meaningful measure on its

conclusion that the required monitoring will be better provided,

for at least a usual period of home confinement, by members of his

family and professionals they may hire.

       Finally, the court is ordering that DiMasi be released, in

North Carolina, to the custody of his wife, and that they return

home promptly and directly. Ordinarily, granting the Motion would

result in DiMasi being transported by bus to Massachusetts, with

many stops at Bureau of Prisons facilities that may not be familiar

with, or able to meet,         the medical needs which justify DiMasi's

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early release. That would be inconsistent with the primary purpose

of this decision.

      In conclusion,      the court finds that it is permissible and

appropriate to grant the Motion and order DiMasi's early release.

It hopes that this decision will not prove to provide unusually

favorable treatment for DiMasi, but rather that it will contribute

to the enlightened and appropriately compassionate administration

of justice for comparable inmates in the future.

II.   PROCEDURAL HISTORY

      After a six-week trial, on June 15, 2011, defendants Salvatore

DiMasi and Richard McDonough were convicted of conspiracy to commit

honest services mail fraud,           honest services wire fraud,         and/or

extortion under color of official right, and of honest services

mail and wire fraud as well.^ In addition, DiMasi was convicted of

extortion      under   color   of    official   right.   All   of   the   charges

involved payments made in exchange for official acts by DiMasi as

Speaker of the Massachusetts House of Representatives to assist

Cognos ULC obtain funded contracts for computer software with the

Commonwealth of Massachusetts.


      The Sentencing Guideline range for DiMasi's crimes was 235 to

293   months    in prison.     The    government   recommended a      150-month




1 Richard Vitale, a co-defendant, was acquitted of the conspiracy
and other charges against him.

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sentence. After a two-day sentencing hearing, the court found an

eight-year sentence, 96 months, to be sufficient but no more than

necessary to serve the required statutory purposes of sentencing.

See Sept. 8 and 9, 2011 Transcripts ("Tr.") . In addition, the court

considered DiMasi's known medical condition,          including his heart

problems, and the medical condition of his wife as well. See Sept.

9,   2011 Tr. at 28-29     (Docket No.      674 at 38-39) . Based on these

considerations, it recommended that DiMasi serve his sentence in

Massachusetts at Federal Medical Center ("FMC") Devens. Id. at 17.

      The court subsequently denied DiMasi's request for release

pending appeal. See United States v. DiMasi, 817 F. Supp. 2d 9 (D.

Mass. 2011), aff'd No.       11-2163   (1st Cir. Nov. 14, 2011). DiMasi

began serving his sentence on November 30, 2011. The First Circuit

later affirmed his conviction and sentence.          See United States v.

McDonough,   727 F.3d 143    (1st Cir. 2013).

      The    Bureau   of     Prisons     did   not   follow    the     court's

recommendation that DiMasi serve his sentence in Massachusetts at

FMC Devens.    Rather,     it assigned DiMasi to the Federal Medical

Center in Lexington, Kentucky.

      As described in more detail in §V,         infra,   in 2012 DiMasi was

diagnosed with throat cancer.          He was    then transferred to         the

Federal Medical Center in Butner, North Carolina, where his throat

cancer was treated with radiation and chemotherapy. Tests show he

has been free of throat cancer since at least July 30,               2013.   See

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Docket     No.     907-1,    Ex.     B    at     1.   However,      the     radiation      and

chemotherapy        caused    a    narrowing          of   DiMasi's       esophagus.      This

condition has required repeated dilations, the last of which was

on May 31,         2016.2 See Docket No.               907-3 at 2,         7.   Despite the

dilations, it remains difficult for DiMasi to swallow even pureed

food and he is at risk of choking while eating.

        In 2015,    DiMasi was       found       to have prostate cancer.              It was

treated with radiation until February 2016. Tests have shown that

DiMasi has been free of prostate cancer since at least August,

2016.         Docket No.      907-1,      Ex.   B at 1,    2.

        As also discussed in more detail below,                     beginning in 2015,

DiMasi, personally and through his attorneys, requested that the

Director      of    the     Bureau       of     Prisons    file     a     motion    for    his

compassionate release pursuant to 18                       U.S.C.       §3582 (c) (1) (A) (i).

Those requests were repeatedly denied, most recently in June 2016

by the Assistant Director and General Counsel of the Bureau of

Prisons, Kathleen Kenney. See Docket No. 885-13.




2 In her record of an August 5, 2016 visit with DiMasi, a Bureau
of Prisons dietician noted that his last dilation was on "May 31,
2015." Docket No. 907-3 at 7. However, other notations in the
record indicate that this date was likely entered in error. For
example, an August 3, 2016 barium swallow study states that
DiMasi's most recent dilation was in May 2016, not 2015. See Docket
No.   907-3   at   2.



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        In July 2016, DiMasi's attorneys met for at least the second

time     with    the      United   States    Attorney    for   the   District      of

Massachusetts,         Carmen Ortiz. See Docket No.        885-15 at 1; Nov. 1,

2016 Tr. at 26, 29. Ms. Ortiz subsequently spoke with Ms. Kenney.

Docket No.      885-15 at 1.       An additional medical        test of DiMasi's

ability to swallow was conducted on August 3, 2016. On August 15,

2016,    the Medical Director of the Bureau of Prisons wrote that

DiMasi met the medical criteria for a              reduction of sentence under

the "Elderly Inmates with Medical Conditions" provision of the

Bureau's compassionate release policy. See Docket No. 907-1, Ex.

G.    He specifically noted that it is              "medically indicated that

someone be present to assist [DiMasi] with choking prevention while

eating and drinking" and that he "requires assistance with his

Instrumental Activities of Daily Living." Id.

        As stated earlier, on October 13, 2016, the government filed

on behalf       of   the   Director of      the   Bureau of    Prisons   a   motion,

pursuant to §3582 (c) (1) (A) (i) , to reduce DiMasi's sentence to time

served. The Motion states, in part, that DiMasi "is a senior who

has served 56 months            (58%)   of his 96-month term of imprisonment

and      is     experiencing        deteriorating       physical     health       that

substantially diminishes his ability to function in a correctional

facility." Docket No. 872 at 2. The Motion was not accompanied by

an     affidavit     or    a   supporting memorandum as        required      by   Rule

7.1(b)(1) of the Local Rules of the United States District Court

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for the District of Massachusetts. Therefore, as the court stated

in its October 17, 2016 Memorandum and Order, "the government ha [d]

provided     the    court     only      unverified      statements,     but   not    any

evidence,    regarding DiMasi's medical history in prison,                    current

medical condition, prognosis, or ability to function in prison.

Docket No.    873    at   1-2.


       It is important to the administration of equal justice, and

public confidence in it, that established standards be employed

and standard procedures, including the requirements of Local Rule

7.1(b); be followed in every case. As Supreme Court Justice Louis

Brandeis wrote,        "[k]nowledge is essential to understanding,                   and

understanding should precede judging." Jay Burns Baking Co.                           v.

Bryan,   264 U.S.      504,      520   (1924)    (Brandeis,     J. , dissenting);    see

also United States v. Sampson, 300 F. Supp. 2d 275, 276 & n.3 (D.

Mass. 2004)      (Wolf, D.J.)          ("I always try to understand the people

that I am called upon to judge. Usually, knowledge is a foundation

for understanding."). The requirements of Local Rule 7.1(b)                         that

all motions be accompanied by evidence and argument are intended

to provide judges with the information necessary to make decisions




3 Unverified statements in a motion or brief do not constitute
"evidence." See Rivera-Corraliza v. Morales, 794 F.3d 208, 224
(1st Cir.    2015) ;      Kelly v.      United States,        924 F.2d 355,   357   (1st
Cir.   1991) ;     Inman v.      Siciliano,      No.   C.A.   10-10202-FDS,   2012    WL
1980408, at *5       (D. Mass. May 31, 2012).


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that are based on proven facts and according to law, both of which

are essential to administering equal justice under law.

     As   discussed         at     the     November       1,   2016   hearing,       it    was

particularly important that the requirements of Local Rule 7.1 be

satisfied in this case.            First, motions for compassionate release

are very rare and, therefore, unfamiliar. This court cannot recall

receiving one in its 31 years of service. Nor have most of its

colleagues ever been presented with such a motion.                            Indeed,      the

instant Motion is the first filed in the District of Massachusetts

since the Bureau of Prisons liberalized its stated compassionate

release policy in 2013, as discussed in §IV, infra.

      In addition, as explained in §111.A, infra, in deciding the

Motion the     court     is       required      to consider        the      need to       avoid

unwarranted         disparities            in    sentencing.          See      18      U.S.C.

§3582 (c) (1) (A) (i)       and          §3553 (a) (6).        Because       motions        for

compassionate release have historically been rare, the court has

been required to consider "whether the Director's decision to file

the Motion was influenced by DiMasi's former status as the Speaker

of the Massachusetts House of Representatives and the stature of

some who may be advocating for his release." Docket No. 873 at 4.

The Motion did not, however, provide any information,                               let alone

evidence, concerning these issues.

      Accordingly,      on October 17,               2016,     the court ordered the

government     to    file        one   or more       affidavits,         evidence,     and a

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memorandum addressing,               among other things,     the    issues that the

court had identified and explained. Id. at 7-8. The court offered

DiMasi an opportunity to address the merit of the Motion as well.

Id.   at     a.


        The government and DiMasi submitted responses to the October

17, 2016 Memorandum and Order on October 27, 2016. On October 28,

2016,      the court ordered that, by October 31,                 2016,   the parties

address additional questions presented by those submissions. See

Docket No. 883. The responses to that Order prompted the court to

direct the government to file                  another document       from DiMasi's

medical record.          See Docket No.       893. A hearing on the Motion was

held on November 1,               2016.

        As    the court wrote in the October 17,                 2016 Memorandum and

Order:


        The decision to sentence DiMasi to serve eight years in
        prison was made carefully, after the required weighing
        of all of the §3553(a) factors. See Sept. 8 and 9, 2011
        Transcripts. That sentence was affirmed on appeal. See
        United States v. McDonough, 727 F.3d 143, 165-66 (1st
        Cir. 2013). However, when sentencing DiMasi, the court
        could not have foreseen that he would, as represented in
        the Motion, develop cancer while in prison. The Motion
        presents the court an opportunity to decide whether the
        eight-year sentence that was most appropriate in 2011
        should     now       be    reduced   because   of   an    unanticipated
        deterioration of DiMasi's health. That decision too must
        be made carefully, based on a proper record, after
        considering all of the relevant §3553(a) factors. See 18
        U.S.C.     §3582(c)(1)(A)(i); U.S.S.G.         §1B1.13.

Docket No.        873   at   7.




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III.    THE RELEVANT STANDARDS


        A.      18 U.S.C.       §3582 (c) (1) (A) (i)

        18 U.S.C.         §3582(c)(1)(A)(i)        states,       in pertinent part,         that

"the court, upon motion by the Director of the Bureau of Prisons

may reduce the term of imprisonment                        (and may impose a term of

probation or supervised release with or without conditions that

does    not exceed the unserved portion of                            the original term of

imprisonment)         .    .    . if it finds that           .    .    . extraordinary and

compelling reasons warrant such a reduction." This means that the

court may not reduce a sentence of an elderly or ill inmate unless

the Bureau of Prisons moves for such a                     reduction.

     However, while a motion by the Bureau of Prisons is necessary,

it     does    not    make      a     reduction    in    sentence       automatic.    Rather,

§3582 (c) (1) (A) requires that the court "consider[] the [sentencing

factors]       set forth in           [18 U.S.C.]       section 3553(a)       to the extent

that they are applicable" in determining whether "extraordinary

and compelling reasons warrant                     [] a reduction." In the instant

case,        this means        that    the    court must decide what           sentence      for

DiMasi is now sufficient, but not greater than necessary, in view

of, among other things:

        1.      The   nature          and    circumstances       of    his   crimes   and    his

history and characteristics as of today, see 18 U.S.C. §3553(a)(1);




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     2.   The need for the sentence to reflect the seriousness of

the offense, to promote respect for the law, and to provide just

punishment for DiMasi's crimes, see §3553{a)(2)(A);

     3.   The need for the sentence to afford adequate deterrence

to comparable criminal conduct, see §3553(a)(2)(B);

     4.   The need for the sentence to protect the public from

further crimes by DiMasi, see §3353(a)(2)(C);

     5.   The need for the sentence to provide DiMasi with needed

medical care most effectively, see §3353(a)(2)(D); and

     6.   The need to avoid unwarranted sentence disparities among

similarly situated defendants, see §3553(a)(6).

     B.    The Sentencing Guidelines

     In   addition   to    requiring      that      the    court   consider      the

applicable §3553(a) factors in determining whether "extraordinary

and compelling reasons warrant           []   a    reduction" of a        sentence,

§3582(c) (1) requires that the court find that "such a reduction is

consistent with applicable policy statements issued by the [United

States]   Sentencing      Commission."        On    January    15,       2016,   the

Sentencing   Commission proposed         an amendment         to   the    pertinent

provision of the Sentencing Guidelines, §1B1.13, which broadened

the eligibility criteria for compassionate release. See 81 Fed.

Reg. 2,295, at 2,299-300 (January 15, 2016). On May 5, 2016, the

Commission   submitted     the   final    version     of    that     Amendment    to

Congress. S^ 81 Fed. Reg. 27,261, at 27,261-63 (May 5, 2016). The

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Amendment became effective on November 1,                2016. Application Note

1    to     S1B1.13    now   states,     in    part,   that   "extraordinary    and

compelling reasons"             for a   reduction of sentence exist if:         the

defendant       (i)   is suffering from a terminal illness; or (ii)              is

suffering from a serious physical or medical condition, a serious

functional impairment, or deteriorating physical or mental health

because of the aging process that substantially diminishes his

ability to care for himself in a correctional facility and from

which he is not expected to recover.

          The amended Application Note to §1B1.13 also encourages the

Bureau of Prisons to file motions for compassionate release more

frequently in the future than it has in the past. This is, in part,

because the Sentencing Commission found that,                  "[w]hile only the

Director of the Bureau of Prisons has the statutory authority to

file a motion for compassionate release, . . . 'the court is in a

unique position to assess whether [extraordinary and compelling]
circumstances exist, and whether a reduction is warranted (and, if

so, the amount of the reduction)               . . . .'"81 Fed. Reg. at 27,264

(quoting proposed language now codified in U.S.S.G. §1B1.13, A.N.

4) . In essence, the Sentencing Commission has encouraged the Bureau

of Prisons to be more liberal in creating opportunities for judges

to    consider        whether    compassionate     release    is   justified,   and

reminded judges of their statutory obligation to consider the



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applicable    §3553(a)   factors   and the    Commission's guidance       in

making such decisions.

      The amendment to §1B1.13 was the result of a 2013 revision of

the Bureau of Prisons' compassionate release policy and subsequent

monitoring of the implementation of that revised policy. As the

Commission wrote in explaining the amendment:

      The   Commission conducted an       in-depth    review of   this
      topic, including consideration of Bureau of Prisons data
      documenting lengthy review of compassionate release
      applications and low approval rates, as well as two
      reports issued by the Department of Justice Office of
      the Inspector General that are critical of the Bureau of
      Prisons' implementation of its compassionate release
      program. See U.S. Department of Justice, Office of the
      Inspector General, The Federal Bureau of Prisons'
      Compassionate Release Program, 1-2023-006 (April, 2013);
      U.S. Department of Justice, Office of the Inspector
      General, The Impact of the Aging Inmate Population on
      the Federal Bureau of Prisons,        E-15-05    (May 2015).   In
      February 2016, the Commission held a public hearing on
      compassionate release and received testimony from
      witnesses and experts about the need to broaden the
      criteria for eligibility, to add guidance to the medical
      criteria, and to remove other administrative hurdles
      that limit the availability of compassionate release for
      otherwise eligible defendants.

81 Fed. Reg.    at 27,263.

IV.   THE BUREAU OF PRISONS COMPASSIONATE RELEASE PROGRAM, PROCESS,
      AND   PRACTICES


      In contrast to the statute and Guidelines,          the court is not

legally required to consider the Bureau of Prisons' standards in

deciding whether extraordinary and compelling reasons exist to

reduce an inmate's sentence. However, if the Bureau of Prisons has

employed its established standards and procedures, its decision to

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file a motion deserves a degree of deference by the court. In any

event,     such standards        and procedures              are   relevant     to whether

granting a motion for compassionate release would be consistent

with the court's obligation to seek to avoid unjustified sentencing

disparities.

     Prior       to   2013,    the     Bureau     of    Prisons      "generally      .

exercised       its   authority        [to   file       motions      for   compassionate

release]    only      [for]    inmates who        [were]      suffering from a life-

threatening or terminal medical condition, or who [were] severely

and permanently mentally or physically disabled." Office of the

Inspector General, U.S. Department of Justice, The Federal Bureau

of Prisons' Compassionate Release Program, 1-2023-006, at 2 (April

2013),          https://oig.justice.gov/reports/2013/el306.pdf.                          The

Director of the Bureau of Prisons had issued a memorandum stating

that a terminally ill patient was one with a life expectancy of no

more than a year. Id. at 8-9. However, the medical staff at some

institutions only approved requests                      from inmates with a             life

expectancy of six months or less.                      Id.    at 16-17. Even in such

circumstances,        the     Bureau of      Prisons         rarely filed motions         for

reduction of sentence. In 2012, Human Rights Watch reported that

between 1992 and 2012 an average of less than 24 such motions by

the Bureau of Prisons were filed annually. Human Rights Watch, The

Answer     is   No:   Too     Little    Compassionate          Release     in   US   Federal




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Prisons,       at 34   (2012),      https://www.hrw.org/sites/default/files/

reports/uslll2ForUploadSm.pdf.

       In 2013,    the Bureau of Prisons revised its policy to make

some   inmates     who are       not   terminally    ill    or severely disabled

eligible for a compassionate release motion. See U.S. Department

of   Justice,     Background on Compassionate               Release/Reductions      in

Sentence         (August      12,      2013),       https://www.whitehouse.gov/
sites/default/files/ondcp/Fact_Sheets/final_ris_background_summa

ry.pdf. The 2013 Bureau of Prisons Compassionate Release Policy

provides for §3582 (c) (1) (A) (i)         motions based on age and other

conditions as well as medical circumstances. See Federal Bureau of

Prisons,          Program           Statement        5050.49,          Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18

U.S.C.     §§3582 (c) (1) (A)     and 4205(g),      at     3-4    (March 25,    2015),

https://www.bop.gov/policy/progstat/5050_049_CN-l.pdf.                         Inmates

who are terminally ill, completely disabled, or so debilitated

that they are confined to a bed or chair more than 50% of waking
hours are in the "Medical Category." Id. at 3.

       The "Non-Medical" category has several subcategories, one of

which is "Elderly Inmates with Medical Conditions." Id. at 4. The

"Elderly Inmates           with Medical     Conditions"          designation is    for

"inmates who fit the following criteria:

           •   Age 65 and older.
           •   Suffer from chronic or serious                    medical   conditions
               related to the aging process.

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           •   Experiencing deteriorating mental or physical health
               that substantially diminishes their ability to function
               in a correctional facility.
           •   Conventional   treatment    promises   no   substantial
               improvement to their mental or physical condition.
           •   Have served at least 50% of their sentence."

Id.   The Bureau of        Prisons has placed DiMasi                    in this     "Elderly

Inmates with Medical Conditions" subcategory.

      In February 2016, the Department of Justice Inspector General

reported that, "[a]1though the [Bureau of Prisons] has revised its

compassionate release policy to expand consideration for early

release to aging inmates,              .   .        .    few aging inmates have been

released under it." Office of Inspector General, U.S. Department

of Justice, The Impact of an Aging Inmate Population, E-15-05, at

51        (February      2016),      https;//oig.justice.gov/reports/2015/

el505.pdf.      Human Rights Watch similarly stated that,                             "[f]rom

August 2013, to December 2015, the Bureau of Prisons received 3,142

requests for compassionate release, and approved only 261. Of these

approvals, 178 (68%) were for cases in which the applicant had a

terminal       condition."     Human       Rights          Watch,      Public     Comment   on

Proposed Amendment 81 Fed. Reg.                         2295,   at 3    (March 21,     2016) ,

http://www.ussc.gov/sites/default/files/pdf/amendment-process/
public-comment/20160321/HRW.pdf.

      With regard to elderly inmates: in 2013, 216 inmates applied

for compassionate release as elderly inmates and no such requests

for   a    §3582 (c) (1) (A) (i)   motion were              granted by      the    Bureau of


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Prisons.    In 2014,       206    such applications             were made and 16          were

granted,     four    of     which       were      "Elderly      Inmates     with     Medical

Conditions,"    as     DiMasi         has   now     been     designated.    In    2015,    137

applications were made and 15 were granted,                         five of which were

"Elderly Inmates with Medical Conditions." See U.S. Department of

Justice,    Public Comment on Proposed Amendment 81 Fed. Reg. 2295,

at              17-18                       (Feb.                 12,                 2016),

http://www.ussc.gov/sites/default/files/pdf/amendment-process/
public-hearings-and-meetings/20160217/DOJ.pdf.                          Evidently,        prior

to   the   instant Motion,            the Bureau of          Prisons    granted two more

requests for compassionate release motions for Elderly Inmates

with Medical Conditions in 2016,                  because in this case the Bureau

reports a total of eleven such applications have been allowed. See

Docket No.    907-1,      Ex.    A.


      The    Bureau       of     Prisons       has,     by    regulation,        established

procedures     it     must       follow      in       considering       applications        for
compassionate release. See 28 C.F.R. §571.62. An application may

be granted by the Director "only after review of the request by

the Warden [of the facility in which the defendant is serving his

sentence], the General Counsel [of the Bureau of Prisons], and []

the Medical Director for medical referrals . . . ." Id. §571.62 (a) .

      Under the regulation, if the General Counsel determines that

an inmate's request for a compassionate release motion warrants

approval, he or she "will solicit the opinion of the United States

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Attorney in the district in which the inmate was sentenced." Id.

§571.62(a)(2).           Therefore,    the regulation contemplates                     that    the

United States Attorney will become involved only after officials

of the Bureau of Prisons decide that a motion for compassionate

release is medically justified.

          The regulation does not require that the inmate's Bureau of

Prisons         doctor    be    consulted.         Nor     does     it   prohibit       such     a

consultation.


V.        THE   FACTS


          DiMasi is now 71 years-old.               He began serving his 96 month

sentence on November 30, 2011. He has earned "good time" credits

which, if retained, would reduce his sentence by 15%. His present

projected release date is November 17, 2018. See Docket No. 881-1

at   4.


          In April 2012, tests disclosed that DiMasi had cancer in his

tongue and neck. It was treated for four months with 35 rounds of

radiation and six cycles of chemotherapy.                          Id.     at 5.    Tests have

shown DiMasi         to be     free   of    this    cancer since at             least July 30,

2013. S^ Docket No. 907-1, Ex. B.

          However,      the    radiation     treatments           caused    a    narrowing      of

DiMasi's esophagus, which injures with his ability to eat without

choking or aspirating his                  food.    See Docket No.          881-1 at 5.         In

addition, according to DiMasi's counsel, in January 2013, DiMasi

developed         aspiration      pneumonia         from    aspirating          food   and     the

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pneumonia    has     periodically     recurred.^         Also    in    January     2013,

DiMasi's esophagus was medically dilated to improve his ability to

swallow.    See    Docket   No.    885-1     at   7.    This    procedure    has      been

repeated eight times, most recently on May 31, 2016.®

     In March and May 2014, a Congressman from Massachusetts wrote

to the Bureau of Prisons requesting that DiMasi be moved from FMC

Butner, where he was sent after being diagnosed with cancer of the

tongue and neck,       to FMC Devens in Massachusetts. See Docket No.

889 at 4.     In December 2014,       the President of the Massachusetts

Senate wrote to the Bureau of Prisons requesting that DiMasi be

considered for compassionate release or transferred to FMC Devens.

See id. The government represents that these are the only public

officials who communicated with Bureau of Prisons decision-making

officials    on DiMasi's        behalf.    See    id.    In    its    response   to    the

October 28,       2016 Order,     the government does not address whether

the United States Attorney had communications concerning DiMasi

from or with any public officials, other than officials in the

Bureau of Prisons.      See id.




^ There is no reference to pneumonia in the incomplete medical
records submitted to the court by the parties. Pneumonia is,
however, repeatedly referenced in letters from DiMasi's counsel to
the Bureau of Prisons.       See,    e.g..      Docket No.      885-4 at 7-9.
® See supra n.2.


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      On June 18, 2014, at the request of DiMasi's Bureau of Prisons

doctor, Michael Nwude, a barium study was done of DiMasi's throat.

The physician who conducted the study found that it was difficult
for DiMasi to initiate swallowing,                          that DiMasi's esophagus was

narrow, and that he aspirated barium during the test. See Docket

No.   907-2    at   1.


       In November 2015 a biopsy revealed that DiMasi had prostate

cancer.     See     Docket     No.       885-4   at    9.     He   received    42    radiation

treatments. DiMasi no longer tests positive for prostate cancer.

See Docket No.           881-1 a t   6.


       In July 2015, DiMasi's counsel wrote to Stephanie Hollembaek,

the Warden at the Federal Correction Institution                              ("FCI")    Butner

Low, where DiMasi was then being held, requesting that the Bureau

of Prisons file a motion for his compassionate release pursuant to

§3582(c) (1) (A) . See Docket No. 885-1. In August 2015, that request

was denied because, by the Bureau of Prisons' calculation, DiMasi

had not yet served 50% of his sentence and,                           therefore,        was not

eligible for consideration under the Bureau's policy. See Docket

No.   885-2.


       In December 2015, DiMasi's counsel renewed the request to the

Bureau of       Prisons       for    a    motion      for    compassionate     release.     See

Docket No.      885-4.


       As     explained earlier,             the      Bureau of      Prisons        regulations

provide for consultation by the Bureau with the United States

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Attorney   only      after    its   officials       find   that   a     motion    for

compassionate     release      is   medically   justified.        See    28   C.F.R.

§571.62(a)(2). However,         in the week before January 12,            2016,   the

United States Attorney, Ms. Ortiz, and her First Assistant, John

McNeil, met with four attorneys, including a former federal judge,

who are representing DiMasi pro bono, to discuss the request for

a motion seeking his compassionate release. See Docket No. 885-5.®

The government represents that such meetings with defense counsel

are common and that it would meet with counsel for any inmate who

asserts that he is not being treated properly by the Bureau of

Prisons.   See Nov.    1,    2016 Tr.   at 26-27.

      DiMasi's counsel emphasized that DiMasi was then assigned to

the medical category requiring the most intense medical care,

medical Level 4.^ They argued that, "[t]he fact that Mr. DiMasi is

assigned to the highest level (4), suggests that his                      [medical]

situation is dire,          even when compared to other inmates seeking




® The former federal judge who met with the United States Attorney
in January 2016, has not filed an appearance in this case, and did
not sign any submission to the court or participate in the November
1,   2016 hearing.
 The Bureau of Prisons places inmates with medical needs into one
of four classifications. A Level 4 inmate is described as "hav[ing]
acute medical or chronic mental health conditions resulting in
severe impairments to physical and cognitive functioning." Office
of the Inspector General, U.S. Department of Justice, The Federal
Bureau of Prisons' Efforts to Manage Inmate Health Care,                         Audit
Report 08-08, at 16 (Feb. 2008).

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compassionate release."           Docket No.          885-5      at 2.    Evidently in
response to an inquiry, they also asserted that the fact that
DiMasi was a white, middle class,                   "white collar" offender would

not be a basis for any reasonable criticism that a motion for

compassionate release on his behalf would constitute preferential
treatment.     Id.   at n.l.


      DiMasi's lawyers asked the United States Attorney to inform

the Bureau of Prisons that she would not object to a motion seeking

a reduction of DiMasi's sentence if it was medically justified.

Id. The documents and information submitted by the parties do not

indicate       whether   or     not        the    United     States      Attorney      then

communicated with the Bureau of Prisons in early 2016.

       In any event,           in a    letter dated January               13,   2016    and

postmarked February 12, 2016, the Complex Warden at FCC Butner,

which includes both FMC Butner and FCI Butner Low, denied DiMasi's

second, December 15, 2015 request for a motion for compassionate

release. See Docket No.          885-6.      In that letter,        the Warden stated

that DiMasi "does not meet the medical guidelines for reduction in

sentence       consideration."        He     acknowledged        that    DiMasi     had    a

narrowed esophagus and had been "referred to a gastroenterologist

for    esophageal      dilation       as    needed."       Id.   DiMasi     also    had    a

"[h]istory of head and neck cancer, post treatment." Id. However,

after an evaluation on December 25,                  2015, there was "no evidence

of    active    cancer   at     this       time."    Id.    Although      "DiMasi      [was]

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currently being treated for prostate cancer with radiation," his
doctors expected that he would be cured and "his life expectancy

appear [ed] to be greater than 18 months." Id. In addition, he then

weighed 185 lbs, which was "normal for a man with his height." Id.

Finally,    the Warden wrote,        "DiMasi's medical          condition   [was]

stable. He reside[d] in an outpatient setting and [was] independent

with his activities of daily living.              He d[id]      not require any

assistive devices or direct medical assistance with his care." Id.

at   1-2.


       In March 2016, DiMasi's attorneys requested reconsideration

of the Warden's decision. See Docket No. 885-8. Among other things,

they argued that in basing his denial on the fact that DiMasi' s
life expectancy was less than 18 months, the Warden had mistakenly

considered the request as being based on an alleged terminal

condition     and,    therefore,     applied     the    wrong   standard.   They

clarified that the request was, instead, based on "the substantial

deterioration of       [DiMasi's]    health subsequent to sentencing in

2011, his extensive medical problems[,]                and their impact on his

ability to function in prison, the standard applicable to requests

under the elderly, non-medical category." Id. at 2.

       The Warden of FCI Butner Low subsequently agreed to review

DiMasi's    request    under   the    "Elderly    with     Medical   Conditions"

category of the Bureau of Prisons compassionate release policy.

See Docket No. 885-9 at 1. However, on April 12, 2016, she again

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denied the request for a compassionate release motion, writing to

DiMasi,         in part:

                    At this time you do suffer from chronic or serious
                    medical condition[s]          related to the aging process
                    but [] you do not experience deterioration of mental
                    or physical health that substantially diminishes
                    your ability to function in a correctional
                    facility. At this time you have no limitation of
                    activities       of   daily   living   such    as       feeding     or
                    dressing yourself.

Id.   at       2.


          On May 10,       2016,       DiMasi had a PET scan that revealed "no

evidence of metastatic disease." Docket No.                       907-1,     Ex.     B at 1.

          On May 16, 2016, DiMasi's lawyers appealed the most recent

denial of his request for a compassionate release motion, arguing

that the Warden had not recognized the seriousness of DiMasi's

condition. See Docket No.                  885-11. Among other things,               they wrote

that DiMasi's            "throat constantly closes down                 .    .   .   making it

virtually impossible to consume . . . more than a small portion of

food in the time allotted for meals," and that "even when he is

able to take food back to his cell, he often finds i t difficult to

eat   .    .    .   ."     at    2.


          On May 17,       2016, DiMasi himself filed another request for

reconsideration of the denial by the Warden.® See Docket No. 885-




® The Warden's April 12, 2016 letter stated that DiMasi had "the
right to appeal this decision . . . within 20 days upon receipt of
this memorandum .           .    .    ." Docket No.885-9 at 2. DiMasi received the

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10.   In it he wrote       that as a     result of       his   tongue and throat

cancers:



      I produce very little saliva and have an esophageal
      stricture/dysphagia which restricts normal eating and
      drinking and requires regular esophageal dilations[,
      which] causes eating to be difficult and painful with
      episodes of choking and aspiration resulting in
      pneumonia, loss of sixty pounds and a feeding tube for
      a year [and] ha [d] to use a food thickener and
      Boost/Ensure, a nutrition supplement prescribed for me,
      but the effects of my radiation treatment for prostate
      cancer make i t intolerable for me to consume. In effect
      I cannot feed myself and cannot obtain sufficient
      nutrition because of my condition and the food require
       [sic]    time limits and other restrictions.

Id.   DiMasi also stated that Bureau of Prisons officials did not

"consult Dr. Nwude, my primary care physician, who on March 18,

2016 at a visit in his office told me that he was never asked about

my physical condition in connection with my request . . . and [if]
asked he would recommend" a compassionate release. Id.




letter on April 29. See Docket No. 885-10 at 1. As the Warden had
already denied DiMasi's request, reconsidered it, and denied it
again, DiMasi asked BOP personnel for an appeal form. He was told,
however, that he could not file an appeal. He was told that
instead, he must submit another request for reconsideration to the
Warden. DiMasi did so. See Docket No. 885-10. Concerned that DiMasi
was being prevented from filing a timely appeal, on May 16, 2016,
his counsel filed an appeal to the Regional Director's office on
behalf     of   DiMasi.   See   Docket   No.   885-11.    On May    27,   2016,   an
attorney in that office contacted counsel for DiMasi and said that
the office could not consider an appeal filed by someone other
than the inmate.      See Docket No.     887 at 4; Docket No.        885-12 at 1.
The attorney also said that if DiMasi himself then attempted to
appeal, the appeal would be time-barred. See Docket No. 887 at 4.
As a result, DiMasi was prevented from appealing the April 12,
2016 decision to the Regional Director.

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         In a   memorandum dated June 7,            2016,    Kathleen Kenney,      the

Assistant Director and General Counsel of the Bureau of Prisons,

again denied DiMasi's request. See Docket No. 885-13. She stated
that the documents submitted had been "carefully reviewed" and the

Medical Director of the Bureau had been consulted. She explained

the denial by writing,           in part,     that DiMasi's "medical record

indicates his cancers have been treated and are in remission," and

" [he]     remains    fully    ambulatory     and     does    not   have     any   work

restrictions or physical limitations." She concluded that,                         "Mr.

DiMasi does not meet the criteria for                [Reduction In Sentence]         at

this     time   as   he   is   not   experiencing      deteriorating mental          or

physical health that substantially diminishes his ability to

function in a correctional setting." Id. at 1.

         On June 13, 2016, the Warden wrote a letter confirming that

DiMasi's request for a compassionate release motion was denied.

See Docket No.       885-14 a t 1.


         On June     30 and July 7,      2016,      representatives of several

organizations in the district DiMasi had represented wrote to the

Acting      Director      of   the   Bureau   of     Prisons,       noting    DiMasi's

involvement in passing healthcare legislation that helped their

organizations and supporting DiMasi's request for compassionate

release, "or at least [a transfer] closer to his home and family,

with access to decent medical treatment." Docket No.                   907-1, Ex. F.




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The letters, which shared certain common language, were evidently

part of a campaign prompted by DiMasi's devoted family.^

     Following the June 2016 denials, DiMasi's counsel met again

with the United States Attorney,         Ms. Ortiz.   See Docket No.        885-

15; Nov. 1, 2016 Tr. at 26-27. Ms. Ortiz subsequently spoke to the

General Counsel of the Bureau of Prisons, Ms. Kenney, "and conveyed

her position with respect to        [DiMasi's]     request" for a motion

seeking his compassionate release. Id. at 1. The parties have not

submitted any evidence or additional information concerning what

Ms. Ortiz said to Ms. Kenney. However, the court infers from the

evolution of events that followed that Ms. Ortiz supported DiMasi's

request and asked Ms. Kenney to reconsider it.^® Indeed, at the




9 For example, each of the letters stated that, "Sal is entering
five years of an eight-year sentence. He turns 71 in August and is
suffering from cancer. His wife, Deborah, is working to gain his
freedom under a compassionate release program. We are asking you
to consider a way out of prison for Sal or at least a prison
facility closer to his home and family, with access to decent
medical treatment." Docket No.      907-1,   Ex.   F at 1,   2,   3,   4.
10 DiMasi's counsel wrote to Ms. Kenney on July 18, 2016:

     I understand that the United States Attorney for the
     District of Massachusetts, Carmen Ortiz, recently spoke
     to you, and conveyed her position with respect to our
     request. After that conversation, U.S. Attorney Ortiz
     suggested that I write directly to you to summarize why
     Mr.   DiMasi meets the     [Bureau of Prisons']     criteria for
     compassionate release. Thank you for your willingness to
     consider the matter.

Docket No.   885-15   at   1.


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November 1, 2016 hearing the government stated that it is "fair"

to conclude from the chronology that the communication from Ms.

Ortiz to the General Counsel of the Bureau of Prisons "essentially

got this [matter of a possible motion for compassionate release]
reopened or reviewed." Nov. 1, 2016 Tr. at 26. DiMasi's counsel

similarly stated that Ms. Ortiz's involvement "was very important

in leading the Bureau of Prisons to take a second look at [the

matter]."    Id.   at 28.

     In the July 18,           2016 letter written to Ms.          Kenney at the

United States Attorney's suggestion,                see supra n.lO,        DiMasi's

counsel again argued that a motion for DiMasi's compassionate

release by the Bureau of Prisons was justified. See Docket No. 885

at 4; Docket No. 885-15 at 1. DiMasi's counsel met with Ms. Kenney

in late July 2016           to advocate      for   further medical        review of

DiMasi's condition and for the filing of a §3582 (c) (1) (A) (i) motion

on his behalf.       See Docket No.   885 at 5.


     On August 3, 2016, a second barium study of DiMasi's throat

was done.    See Docket No.       907-3 at 2-3.       It was performed at the

Granville Medical       Center in North Carolina.           Id.   at 1.    The 2014

barium study was not available for comparison.                    The doctor who

conducted the study found that DiMasi's "swallowing mechanism was

abnormal."     Id.    DiMasi    "aspirate[d]       thick   liquid barium during

[the] procedure." Id. The doctor also reported that "the esophagus

looks within normal limits for course and caliber during active

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drinking phase." Id. However,                during the "resting phase," when

DiMasi was not actively swallowing,                       the doctor noted "delayed

transit     through the esophagus."                Id.    In addition,       there was a

"narrowing"       of the esophagus consisting of                     "a benign looking

stricture." Id.         at 2. DiMasi was found to be unable to swallow a

7 millimeter pill, "probably [because he] lack[ed] a little bit of

confidence" given his aspiration problem. Id. at 1-2.

        Another test conducted the same day confirmed that DiMasi was

aspirating food when he swallowed. The doctor noted that "with

small     volumes   of       food    given    intermittently          under    controlled

environment       the    patient      might    be        able   to   avoid    significant

aspiration." Id. at 4.

        On August       5,   2016,    DiMasi met with a Bureau of Prisons

dietician. Id. at 7-8. DiMasi "expressed interest in learning about

new recommendations for diet and fluid consistency" following the

modified barium study. I^ at 7. He expressed concern about his

"long      term     weight          loss,"     and        trouble      swallowing     and

gastrointestinal problems, caused by the radiation therapy, though

his weight at the time, 180 pounds, was described as "normal" and

"appropriate." Id. The dietician noted that DiMasi "has learned to

avoid choking by chewing and swallowing slowly, but usually never

has adequate time to finish a meal and relies on a snack bag and

commissary shopping." Id. He reported feeling residual food in his

throat "long after stopping eating." Id. He required a downgrade

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in the consistency of his diet to "puree" and his liquids to

"honey-thick."       Id.   The   dietician   recommended     "[a]Iternative
feedings methods . . . if dysphagia and aspiration continues." Id.

The parties agree that "alternative feeding methods" refers to the
use of a feeding tube, which DiMasi required for a year during and

following the radiation and chemotherapy for his tongue and neck

cancer. See Docket No.       882 at 3; 885-4 at 6; Nov. 1 Tr. at 20.

        A Bureau of Prisons'     Inmate Skills Development Plan,       dated

August 9, 2016, stated that DiMasi was then "medical care level II

(Chronic care - stable)Docket No. 907-1, Ex. H at 1. It also

stated that DiMasi then had no medical restrictions on regular

duty,     id.   at 2,   and that "no non-routine services/assistance
devices     [were] needed" for him,    id. at 1.

        On August 11, 2016, DiMasi's Bureau of Prisons physician. Dr.

Nwude,     submitted a medical summary in connection with DiMasi's

request for reduction in sentence. See Docket No. 907-1, Ex. B.

Dr. Nwude reviewed the results of the second, August 3, 2016 barium




  Medical Care Level 2 inmates are "stable outpatients with chronic
illnesses requiring at least quarterly clinician evaluations.
These inmates independently perform daily living activities. The
care level includes inmates with mental health conditions that can
be managed through chronic care clinics or individual psychology
or health services contacts no more frequently than monthly to
quarterly." Inmate Health Care, supra n.7, at 16.

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swallow study. He stated that DiMasi was Care Level 3^^ and his

condition was "unstable."             Id.     at 1.

       Dr.    Nwude    noted      that      DiMasi    was    free    of     tongue   cancer.

However,      the repeated radiation for                    it had narrowed DiMasi's

throat, creating difficulty in swallowing and requiring about nine

dilations of his esophagus. Dr. Nwude stated that the difficulty

swallowing persisted nevertheless and DiMasi reported increasing

choking episodes despite taking extra time to eat. Dr. Nwude stated

that    the    second,       August      3,    2016     barium      study    "demonstrated

worsening of his [difficulty swallowing]                      . . . aspiration of thin

liquid . . . [and] esophageal stricture." Id. at 1. He noted that

on August 5, 2016, the dietician had recommended that DiMasi eat

only a "pureed diet with honey thick liquids and [take] aspiration

precautions." He also noted that the dietician said "in the future

[DiMasi]      may     need   to    consider         alternative      feeding    methods"--

meaning using a feeding tube again--if his difficulty in swallowing

continued.      Id.   at 1-2.


       Dr. Nwude concluded his summary by writing:




12 Medical Care Level 3 inmates are "fragile outpatients with
medical conditions that require daily to monthly clinical contact.
These inmates may have chronic or recurrent mental illnesses or
ongoing       cognitive      impairments         that    require      daily     to   monthly
psychiatric health services or psychology contacts to maintain
outpatient status. These inmates may also require assistance in
performing some activities of daily living, but do not require
daily nursing care." Inmate Health Care, supra n.7, at 16.

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          Mr. Dimasi is housed on an outpatient unit where he is
          independent in his activities of daily living.
          Specifically, his score is excellent under Instrumental
          Activities      of    Daily    Living    (lADL).       However,      his
          swallowing difficulty from his esophageal stenosis and
          stricture is chronic,         serious,   deteriorating,          and the
          conventional         treatment    for    it     has      offered         no
          substantial improvement to it. In addition, he takes
          extra time for his feeding and on that basis he has a
          diminished ability to function in a correctional
          setting. Based on the foregoing Mr. Salvatore Dimasi is
          now probably appropriate for Reduction in Sentence for
          Elderly with Medical Conditions.

Id. at 2       (emphasis added).

          The summary prepared by Dr. Nwude is the medical record on

which the Bureau of Prisons primarily relied in deciding to file

the instant Motion for compassionate release. See Docket No. 889

at   7.


          A few days later, on August 15, 2016, the Bureau of Prisons

Medical Director,          Dr.    Jeffery Allen,        responded to the Bureau's

Associate General Counsel, Darrin Howard's,                     "request for a review

of   [DiMasi's]        reduction    in sentence        (RIS)    submission     .    .   .   ."

Docket No.       907-1,    Ex. G. Dr. Allen stated,            in part:

          [DiMasi's]      medical    record      and    correspondence        from
          healthcare staff reveals that due to his head and neck
          cancer   he  experiences   choking  while   eating  and
          drinking. In addition, a barium swallow study indicates
          aspiration. It's medically indicated that someone be
          present to assist him with choking prevention while
          eating or drinking.

          Based on our review of the medical record,                 Mr.    Dimasi
          does meet BOP elderly with medical [Reduction In
          Sentence] criteria. He requires assistance with his
          Instrumental  Activities  of  Daily   Living  and  is
          experiencing deteriorating mental and physical health


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      that substantially diminishes his ability to function
      in a   correctional environment.

Id.   (emphasis added).

      The Bureau of Prisons has at FCC Butner an Inmate Companion

Program. See Inmates Helping Inmates, Federal Bureau of Prisons

Website      (April   21,       2016),   https://www.bop.gov/resources/news/
20160421_helpinghands. j sp; Nov. 1,             2016 Tr.   at 41-42.    In that

program, "[a] carefully selected and trained group of inmates help

their peers do things like brush teeth, shave . . . [and] assist []

with bed-side feeding." See id.; see also Nov. 1, 2016 Tr. at 42

("[The Bureau of Prisons has] programs whereby some inmates have

inmate companions .         .    . for instance,       if someone's wheelchair-

bound and they have difficulty cleaning themselves or other things,

self-care, there are inmate companions to assist those people.").

The Bureau of Prisons could assign an inmate companion to monitor

DiMasi while he is eating and assist in keeping him from choking.

To date,     i t has not chosen to do so.

      Nevertheless,     on August 26,          2016,   the Warden of FCI Butner

Low, Ms. Hollembaek, who had previously denied DiMasi's requests

for a compassionate release motion,               sent a letter to Ms.    Kenney

recommending that the Bureau of Prisons move for DiMasi's release.

See Docket No. 907-1, Ex. D. That recommendation was subsequently

approved by the Acting Director of the Bureau of Prisons.                    See

Docket No. 881-1 at Ull. On October 13, 2016, the government filed


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on behalf of the Director of the Bureau of Prisons the instant

Motion requesting DiMasi's release pursuant to §3852(c)(1)(A).

      The    Bureau    of    Prisons    has    previously     moved   for     the

compassionate release of 11 other inmates in the "Elderly with

Medical Conditions" category of its policy. Two were in Medical

Care Level 2, four were in Level 3, and five were in Level 4. Nov.

1, 2016 Tr. at 11. All of them had multiple medical problems which

required assistance with activities of daily living. See Docket

No. 907-1, Ex. A. Based on the summary submitted to the court, all

of the other inmates appear to be more debilitated than DiMasi,

who now resides in the low security facility at FCI Butner rather

than the Medical Center.         See Docket No.    885-15 at 1.

VI.   DISCUSSION


      A.     Extraordinary and Compelling Reasons Warrant a Reduction
             of DiMasi's Sentence to Time-Served

      The court finds that there are extraordinary and compelling

reasons     that   warrant   a   reduction    of   DiMasi's   sentence   to   the

approximately five years that he has served if his conditions of

Supervised Release are appropriately modified.                In essence,     the

court concludes that such a        sentence is now sufficient and no more

than necessary to serve the statutory purposes of sentencing. See

§3553(a). Therefore, the Motion is being allowed and modifications

to the conditions of DiMasi's Supervised Release are being ordered.




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      As explained earlier, when the court sentenced DiMasi to serve

eight years in prison for the serious crimes of corruption of which

he was convicted i t was not foreseen that he would develop throat

cancer,   and    later    prostate   cancer,    while   incarcerated.     After

treatment, both forms of cancer are now in remission. DiMasi is

not terminally ill. Indeed, he is now serving his sentence in a

Bureau of Prisons facility with a low level of security rather

than in a medical facility.

      However,     the    throat     and    prostate    cancer   DiMasi     has

experienced are now part of his history and characteristics that

the court must consider. See §3582(a)(1)(A)(i) and §3553(a)(1). If

DiMasi had been suffering from throat and/or prostate cancer when

he was sentenced in 2011, the court would have considered imposing

a   sentence of    less    than eight years.      The cancers that DiMasi

developed while serving his sentence, and the fact that they could

recur, weigh in favor of reducing his sentence.

      Although now free of cancer,             DiMasi is suffering from a

serious physical or medical condition, which is an issue the court

must consider in deciding whether extraordinary and compelling

reasons exist under the relevant advisory Sentencing Guideline."




    All provisions of the Sentencing Guidelines have been advisory
since 2005, when the Supreme Court decided United States v. Booker,
543 U.S. 220 (2005). Policy Statements such as §1B1.13 that do not
interpret a specific Guideline were advisory even before Booker.

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See U.S.S.G. §1B1.13, A.N. 1(A)(ii)(I). The treatment for DiMasi's

throat cancer has caused a narrowing of his esophagus. This has

required many esophageal dilations and DiMasi may need more.

Despite these procedures, DiMasi has great difficulty swallowing,

needs to eat slowly, is on a diet of pureed food, and is at risk

of choking and aspirating his food, which has at times resulted in

pneumonia and could again. The Medical Director of the Bureau of

Prisons recently found that DiMasi's condition is sufficiently

severe that it is "medically indicated that someone be present to

assist [DiMasi] with choking prevention while eating or drinking."

Docket No.   907-1,   Ex.   G.

     Application Note 1 to advisory Guideline §1B1.13 also directs

the court to consider whether DiMasi's serious swallowing problem

"substantially diminishes the ability of the defendant to provide

self-care    within   the    environment       of   a    correctional     facility."

U.S.S.G. §1B1.13, A.N. 1(A). In August 2016, Dr. Nwude wrote that:

"Mr. DiMasi is housed on an outpatient unit where he is independent




See United States v. O'Neil, 11 F.3d 292, 302 n.ll (1st Cir. 1993) .
Moreover, the language in Application Note 1 that the court is
addressing is not in §1B1.13 itself. For these reasons, while
§1B1.13 and Application Note 1 provide a framework for determining
the merit of      the Motion,         it is not     required that       each of    the
Application Note criteria be satisfied to find that a motion for
compassionate release should be granted. Rather,     18 U.S.C.
§3582(c)(1)(A) requires only that the court determine whether a
reduction    in   sentence       is   "consistent       with"   the   §1B1.13   Policy
Statement. The court has reached this conclusion.


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in his Activities of Daily Living." Docket No. 907-1, Ex. B at 2.

Dr.    Nwude added that because of DiMasi's difficulty swallowing,

"he takes extra time for his feeding and on that basis he has a

diminished ability to function in a correctional setting." Id. Dr.

Nwude did not, however, characterize that diminution of DiMasi's

ability to function while in custody as "substantial." Id.                                   In

denying DiMasi's request for a motion for compassionate release in

June 2016, the General Counsel of the Bureau of Prisons noted that

he     had   no     "work      restrictions          or     physical       limitations"     and

explicitly         found      his    ability    to        function    in    prison was      not

substantially impaired. Docket No. 885-13. Rather, she wrote, "Mr.

DiMasi does not meet the criteria for [a Reduction In Sentence] at

this    time      as    he    is    not   experiencing        deteriorating       mental     or

physical       health that           substantially diminishes               his   ability to

function in a correctional setting." Id.

        However,        as    explained        earlier,       the      Guidelines,    Policy

Statements,        and Application Notes are only advisory.                        See supra

n.l3. Therefore, the court is not required to find that all of the

criteria in Application Note 1 are met in order to grant the

Motion.      The       fact   that    the   limitation         on    DiMasi's     ability    to

function in prison may not be "substantial" does not mean that it

is impemnissible or inappropriate to grant the request to reduce

his    sentence.




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           In addition,        the Guidelines also now advise the court to

consider whether DiMasi is "experiencing deteriorating physical

. . . health because of the aging process" and whether he is "not

expected to recover" from his condition. §1B1.13 A.N. 1(A) (ii) .
The        evidence        indicates    that    DiMasi's       swallowing        problem     is

permanent.          It has not improved as a result of the esophageal

dilations he has had in prison and is not likely to improve in the

future.          This is,      among other things,         the opinion of DiMasi's

primary doctor at Butner, Dr. Nwude. See Docket No. 907-1, Ex. B

at    2.


           Dr.    Nwude     characterizes       DiMasi's       condition     as    "chronic,

serious,"          and     "deteriorating."      Id.    In some        respects,       however,

DiMasi's health has improved.                   For example,           his cancers are in

remission and he is no longer medical care level 4.                                It is not

evident to the court that the medical record, including the second

barium           swallow    study,     demonstrates       that    DiMasi's        ability    to

swallow is deteriorating. However, Dr. Nwude is trained and expert

in interpreting the medical records. The court is not. There is,

in any event, no reason to question Dr. Nwude's characterization

of    DiMasi's        condition as       "serious"       and     not    likely    to    improve

substantially. These facts weigh in favor of granting the Motion.

           As explained earlier, the court must also consider all of the

relevant §3553(a) factors in deciding whether to reduce DiMasi's

sentence.          See     §3582(c) (1) (A) .   In     addition    to    DiMasi's       current

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history, which includes throat and prostate cancer as discussed

earlier,      these factors include the need to provide DiMasi with

needed        medical     care      in       the        most      effective        manner.        See

§3553(a)(2)(D).          The     Bureau       of        Prisons     could,        if     necessary,

adequately meet DiMasi's medical needs if he is not released. The

record     indicates      DiMasi        is   now        eating     pureed    food        and     could

continue to do so. It has not been shown that the Bureau of Prisons

could not give him extra time to eat if medically necessary. The

Bureau of Prisons could also assign DiMasi an inmate companion to

provide the recommended monitoring while he is eating. However,

the court finds          that a     reduction of DiMasi's sentence with the

additional conditions of supervised release being ordered would

better serve the interest of providing DiMasi with needed medical

care     in     the     form   of    monitoring            while      he     is        eating.     See

§3553 (a) (2) (D) .

       Releasing DiMasi now will also serve the interest of providing

him with needed medical care most effectively in another way. The

Eighth Amendment guarantees inmates in Bureau of Prisons custody

adequate medical care for a serious medical need. See Farmer v.

Brennan, 511 U.S. 825, 832 (1994); Estelle v. Gamble, 429 U.S. 97,

103-05 (1976) . It does not require that the Bureau provide optimal

medical care or care of an inmate's choosing. See United States v.

Derbes,       369 F.3d 579,       583    (1st Cir.         2004); DesRosiers v. Moran,

949 F.2d 15, 18          (1st Cir. 1991); United States v. DeCologero, 821

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F.2d 39, 42-43 (1st Cir. 1987), A reduction of DiMasi's sentence

will give him the ability to seek, from the doctors and hospitals
of his choice, what may be better medical care than the Bureau of

Prisons is obligated or able to provide.

     The court must also consider the nature and seriousness of

DiMasi's crimes and the need to provide just punishment for them.

See §3553 (a)(1)        and (2) (A) . For the reasons described in detail

when DiMasi was sentenced in 2011, his crimes were very serious.

See Sept. 9,         2016 Tr. at 19-23           (Docket No. 674 at 29-30) . By

accepting payments in return for the exercise of his official
powers,        DiMasi   caused     the     Commonwealth    of    Massachusetts    to

purchase more than $17,000,000 of unneeded computer software. As

the court said in sentencing DiMasi, those funds could have been

much better used instead for other,                  important purposes,     such as

programs for the elderly and scholarships for students. Id. at 10-

11. The court has no doubt that, as the First Circuit affirmed in

2011, an eight-year sentence was in 2011 appropriate to recognize

the seriousness of DiMasi's crimes.

        However, there is always a range of reasonable sentences in

a particular case. Unforeseen developments may render a sentence

that was at an appropriate point on the reasonable range when

imposed longer than necessary. The five-year sentence DiMasi will

serve     as    a   result   of   the    reduction   in his     sentence   now being

ordered is a significant sentence. The court finds that it will,

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in the current circumstances/ still be sufficient to recognize the

very serious nature of DiMasi's crimes.

       In deciding the Motion/ the court is also required to consider

"the need     [for the   sentence]   to afford adequate deterrence         to

criminal     conduct."    §3553(a)(2)(B).     This    was      an   important

consideration in the court's finding that an eight-year sentence

was warranted in 2011. See Sept. 9/ 2011 Tr. at 27-28 (Docket No.

674 at 37-38) . DiMasi was the third consecutive Speaker of the

Massachusetts House of Representatives to be convicted of a federal

crime. DiMasi's predecessors/ however/ were not sentenced to serve

time in custody. DiMasi knew when he conspired to extort payments

in return for the exercise of his official powers in this case

that the Mayor of the City of Providence/ Rhode Island had recently

been sentenced to serve five-years for his corrupt conduct. Id. at

27. However/ knowing that did not deter DiMasi or his convicted

co-defendant McDonough.      The court concluded/      therefore/    that "a

materially higher sentence than five years [was] essential to serve

the important goals of specific and general deterrence..." Id. at

27-28 .


       DiMasi's medical problems while in prison/ and his inability

to get the medical care of his choice/ have been highly publicized.

See,   e.g./ A.   Estes and Scott Allen/      "Salvatore DiMasi Has Rare

Form of Cancer: Ex-Speaker's Illness Likely to be Treated at Prison

Medical Center/" The Boston Globe          (May 19/   2012);    M. Valencia/

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"Imprisoned DiMasi Weak with Cancer, Wife Says," The Boston Globe

(Mar. 7, 2013); A. Metager, "Wife of Former Massachusetts Speaker

of the House Fears He Will Die in Prison," State House News Service

(July 14, 2015); J. Vennochi, "An 111 Sal DiMasi Deserves Better

Treatment," The Boston Globe (Nov. 23, 2015). Knowledge of DiMasi's

experience in prison should strongly discourage public officials,

and those who might conspire with them,              from acting corruptly.

Therefore, the court finds that reducing DiMasi's sentence to the

five years he has served will not undermine the need to assure

that his sentence is sufficient to deter future criminal conduct

by him and, particularly, others.

     A five-year sentence will also be sufficient to protect the

public from any further crimes by DiMasi. See §3553 (2) (C) . In

addressing DiMasi's 2011 motion for release pending appeal, the

court found that he was not likely to be a danger to the community

if released.    See United States v.       DiMasi,   817 F.   Supp.   2d 9,   12

(D. Mass 2011). DiMasi's difficulties while in custody should give

him added incentive to obey the law in the future.

     Finally,    the court must consider whether reducing DiMasi's

sentence will be consistent with the important statutory interest

of   avoiding    unwarranted     sentence    disparity     among      similarly

situated individuals.       See §3553(a)(6).    This    raises   the issue of

whether   the   Bureau of   Prisons   treated DiMasi     as   i t would other




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inmates with comparable conditions in filing the Motion seeking

DiMasi's release pursuant to §3582 (c) (1) (A) (i).

       As discussed earlier, motions for compassionate release have

been very rare. Until 2013, they were generally filed for only

about 24 terminally ill inmates a year. The Bureau of Prisons*

reluctance to file motions for compassionate release more often

was criticized by Human Rights Watch and the Department of Justice

Inspector General, among others. In 2013, the Bureau of Prisons

revised its policy to expand the definition of inmates eligible

for motions for compassionate release to include inmates over 65,

who    had   served   more   than   half    of   their   sentence,       and   whose

deteriorating health substantially diminished their ability to

function in a correctional facility. See Program Statement 5050.49

at 4   (Aug. 12, 2013).

       Changes   in   stated   policies,     however,     do    not   necessarily

result in changes in practices."" As explained earlier, in 2016,




" For example, as this court said in 2001 with regard to the
crimes, including murder, that members of the Federal Bureau of
Investigation permitted, and in some cases abetted, by its Top
Echelon Organized Crime informants James "Whitey" Bulger and
Stephen Flemmi:
       [T]he Attorney General for whom I worked, Edward Levi, issued
       his informant Guidelines in December 1976,               one month before
       he left office.   [The United States Attorney has] acknowledged
       that,   if obeyed, those Guidelines would have prevented the
       abuses revealed in this case.        However,     as I   found,   there was
       overwhelming evidence that they were routinely disregarded

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the    Department        of    Justice          Inspector     General      reported     that

" [a]Ithough the [Bureau of Prisons] has revised its compassionate

release policy to expand consideration for early release to aging

inmates    .   .   . few aging inmates have been released under it."

Office of Inspector General, U.S. Department of Justice, The Impact

of an Aging Inmate Population,                    E-15-05,    at 51     (February 2016),

https;//oig.justice.gov/reports/2015/el505.pdf.                            Indeed,       the

Bureau has since 2013 moved for the compassionate release of only

11 inmates in the "Elderly with Medical Conditions" categoiry and

each of them appears to have been more debilitated than DiMasi.

See Docket No,      907-1,         Ex.   A.

       Until July 2016, the Bureau of Prisons was not receptive to

DiMasi's requests for a §3582(a)(1)(A)(i) motion.                           It repeatedly

denied those requests and made it difficult for DiMasi to seek a

reversal of those decisions. As described earlier, in one instance

the Bureau told DiMasi that i t would not consider an appeal that

had been filed by his attorneys and that, because of the passage

of    time while     their appeal was pending,                  any appeal by DiMasi

himself would be time-barred.                 See supra n.8.




       with    respect        to    Flemmi,       Bulger,     and   other    Top     Echelon
       informants.

United    States    v.    Flemmi,         195    F.   Supp.   2d    243,   252   (D.   Mass.
2001) (citations omitted); see also United States v. Salemme,                          91 F.
Supp. 2d 141, 174, 194 (D. Mass. 1999).

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      The Bureau of Prisons addressed the merits of DiMasi's request

for a compassionate release in June 2016. In denying that request,

the General Counsel of the Bureau,               Ms.   Kenney,      then wrote that

DiMasi did    "not meet the criteria for               [a Reduction In Sentence

motion] at [that] time as he [was] not experiencing deteriorating

mental or physical health that substantially diminishe[d]                            his

ability to function in a correctional setting." Docket No. 885-

13.


      The Bureau of Prisons'        attitude and actions concerning Mr.

DiMasi   changed beginning         in    July    2016.      The    record    does    not

demonstrate that the Bureau was influenced by the fact that DiMasi

had been a powerful public official. Nor does it demonstrate that

the two public officials who wrote to the Bureau on behalf of

DiMasi had any effect. The record also does not suggest that the

Bureau was influenced by the letters submitted by DiMasi's foirmer

constituents.


      By July 2016, the Bureau knew that the Sentencing Commission

had proposed an amendment to               §1B1.13     of    the Guidelines          that

encouraged      the     Bureau     to      be     more      liberal         in     filing
§3582 (c) (1) (A) (i)    motions        for     compassionate            release     and,

therefore,    provide    courts     more       opportunities        to    decide    if   a

reduction in sentence is justified.               However,        that amendment was

submitted to Congress by the Sentencing Commission before                             the



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Bureau's denial of DiMasi's request in June 2016. See 81 Fed. Reg.

at 27,261-63.

      As explained earlier,           the Bureau of Prisons conduct and

decisions concerning DiMasi changed after his lawyers, including

a former federal judge, met with United States Attorney Ortiz, and

Ms. Ortiz spoke to Ms. Kenney to express her support for DiMasi's

request for a compassionate release motion. The parties have not

provided the court with any evidence or information concerning
whether    Ms.    Ortiz      communicated    with     any p\iblic      officials       who

advocated for DiMasi's release.


      In any event, Ms. Ortiz's discussion with Ms. Kenney quickly

led to: a meeting between at least one of DiMasi's lawyers and the

General Counsel; a second barium swallow test; a report by DiMasi's

Bureau of Prisons doctor that DiMasi was "probably appropriate for

Reduction in Sentence for Elderly with Medical Conditions," Docket

No. 907-1, Ex. B; and the Bureau's Medical Director's conclusion

that, although the Bureau had consulted him and found two months

earlier    that     DiMasi      did   not        qualify,    the     criteria    for     a

compassionate release motion were met, see Docket No. 907-1 Ex. G.

      In essence,       as the parties agreed on November 1, 2016,                     the

intervention of the United States Attorney was important to getting

the Bureau to reconsider and reverse its denial of DiMasi's request

for a motion seeking a reduction of his sentence. See Nov. 1, 2016

Tr.   at   26,    28.   As    described     earlier,        the    Bureau   of   Prisons

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regulations contemplate that the United States Attorney will
become involved only if and after the General Counsel determines

that an inmate's request for a                 compassionate release warrants

approval and consults the United States Attorney to determine
whether he or she objects. See 28 C.F.R. §571.62 (a) (2) . In this

case, the usual process was reversed.

      However, the government has represented that DiMasi and his

lawyers did not receive preferential treatment from the United

States Attorney. Rather, the government has stated that the United

States Attorney frequently meets with defense counsel who assert

their clients are not receiving proper treatment and takes actions

on their behalf if persuaded it is appropriate. See Nov. 1, 2016

Tr.   at   26-27.


       Similarly, the Bureau of Prisons represents that DiMasi did

not    receive      preferential   treatment        after   the   United    States

Attorney's       interest     prompted     the     Bureau    to   consider      his
application         for   compassionate        release   again.   The      Bureau's

Associate General Counsel has            stated that DiMasi's request           for

compassionate release was:

       approved mainly because he has chronic, serious, and
       worsening   [difficulty  swallowing   resulting  from
       narrowing of the esophagus] . . . that is unlikely to
       improve with conventional treatment. This condition
       causes him to choke and aspirate food into his airway
       when he eats. To eat safely, he must take extra time
       with meals, and he should be attended by someone who
       can assist him with choking prevention while eating and


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       drinking. These needs interfere with his ability to
       function in a correctional setting.

Docket No. 881-1 at 5. The Bureau of Prisons asserts that it would

file   a   motion   for   reduction         in sentence       for    any   inmate      in a

comparable condition.

       The Bureau did not follow its established procedure when it

discussed     the   matter   with       the       United    States    Attorney       before

determining that a motion to reduce DiMasi's sentence was medically

justified. However, there is substantial evidence to support the

Bureau's     conclusion    that    a    reduction          in DiMasi's        sentence    is

warranted. Therefore,        its judgment deserves some deference from

the court. However, the degree of that deference is diminished in

this case by the deviation from the usual process, which raises a

question concerning whether the decision to seek DiMasi's release

was made primarily by lawyers rather than by correctional and

medical officials.


       The   future     conduct    of       the    United     States    Attorney        and,

particularly,       the   Bureau       of     Prisons       will    determine        whether

releasing DiMasi now will be consistent with the court's obligation

to seek to avoid unwarranted disparities in sentences for similarly

situated     inmates.        §3553 (a) (6).         If     in the    future    the    Bureau

evaluates the requests of elderly inmates with serious medical

conditions more generously,             and files §3582 (c) (1) (A) (i) motions




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more frequently,              allowing the Motion will not contribute to an

unjustified disparity in sentences.

       The future,            of course,    cannot be foretold.           The Sentencing

Commission,        the    Department        of    Justice     Inspector    General,   and

organizations including Human Rights Watch have encouraged the

Bureau of Prisons to file motions for compassionate release more

often when an inmate's health seriously deteriorates while he is

in custody. This would allow courts to perform their traditional

role in weighing all of the competing considerations and deciding

what sentence is sufficient and no more than necessary for that

inmate. See §3553 (a) . The court hopes that the decision in this

case        will     contribute        to        the    humane    administration        of

§3582 (c) (1) (A) (i) by the Bureau of Prisons in the future.

       In     view       of     the   foregoing,        the   court    concludes      that

extraordinary and compelling reasons exist to reduce DiMasi's

sentence to time-seived if his conditions of supervised release

are appropriately modified.

       B.      Supervised Release

       As explained earlier,               where,      as here,   the court orders a

reduction in sentence pursuant to §3582 (c)(1),                       it "may impose a

term of probation or supervised release with or without conditions

that does not exceed the unserved portion of the original term of

imprisonment." §3582 (c) (1) (A) . Therefore,                  the court now has the

authority to add an additional two years of Supervised Release or

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probation to the two years of Supervised Release ordered in 2011.
The court does not,          however,     find that doing so is necessary or

appropriate.

       The court does find, however, that the reduction of DiMasi's

sentence is justified only if certain additional conditions of

Supervised Release are imposed. As required by 18 U.S.C. §3583,

the court has considered the factors                  set forth in §3553(a)(1),

(a)(2)(B),         (a)(2)(C),      (a)(2)(D),    (a)(4),    (a)(5),   and    (a)(6)   in

reaching this decision. See 18 U.S.C. §3583. Section 3553 (a) (2) (D)

includes         the   interest of     providing the        defendant    with needed

medical care most effectively.              Section 3553(a)(6)          addresses the

need    to       avoid   unwarranted     sentence    disparities.        jn general,

special conditions of Supervised Release must cause no greater

deprivation of liberty than reasonably necessary to achieve the

goals       of    Supervised Release,           including   the   need      to   provide
effective medical treatment. See United States v. Pabon, 819 F. 3d

26,    30   (1st Cir.     2016).




15 The court recognizes that §3583 does not authorize the court to
consider in fashioning conditions of Supervised Release the need
to reflect the seriousness of the offense, to promote respect for
the law, and to provide just punishment for the offense, which are
the interests addressed in §3553(a)(2)(A). The court could instead
order that DiMasi serve a term of probation, rather than or in
addition to a term of Supervised Release, and order conditions of
probation intended to serve the purposes of §3553 (a) (2) (A) . See
U.S.C.      §3563(b). The court, however,           is not doing so.

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      In view of these principles,            the court      is modifying the

conditions of DiMasi's Supervised Release to include at least six

months home confinement, in the custody of his wife Deborah DiMasi,

who is being ordered to assure that a family member or professional

health aide is with DiMasi whenever he eats or drinks to minimize

the risk of choking or other harm to DiMasi. DiMasi will be allowed

to leave his home for any medical emergency and, with the prior

approval of the Probation Office, for medical appointments, and

religious   observances.      The    court    is   not    ordering   electronic

monitoring of DiMasi's home confinement.

      The home confinement condition of DiMasi's Supervised Release

is   intended   to   assure   that   DiMasi    receives     needed   health   and

medical care in the most effective manner.               See 3553(a) (2) (D) . As

explained earlier, the Bureau of Prisons based its request for a

reduction of DiMasi's sentence largely on its Medical Director's

opinion that it is "medically indicated that someone be present to

assist [DiMasi] with choking prevention while eating or drinking."

Docket No. 907-1, Ex. G. The court has relied on this opinion in

granting the Motion. While the Bureau of Prisons could provide

DiMasi an inmate companion while DiMasi is eating or drinking, the

court finds that his family, and professionals it may engage, will

better provide the required monitoring. Therefore, the court has

adopted DiMasi's original suggestion that his wife "act as a third

party custodian, responsible for assuring that Mr. DiMasi eats and

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drinks only in the presence of a monitor." Docket No. 896 at 3;

Nov.   1,    2016 Tr.    at 39-40.

       The    court     is    not    persuaded,         however,         by DiMasi's       later

argument that the court should neither require any period of home

confinement       nor    order      that    he    be     monitored        while       eating   and

drinking.      See Docket No.          896 at 2-3. DiMasi asserts that such

conditions       are    not   reasonably          necessary      to      serve    any     of    the

cognizable       §3553(a)      interests.             However,      it    is     difficult       to

reconcile      DiMasi's       claim    that      his     early      release      is    justified

because it is medically indicated that he be monitored while eating

with his argument that no time in home confinement is appropriate

to     assure         such    monitoring          is     properly         provided.           These

contradictory positions caused,                   and to some extent continue to

cause,      the court to question whether DiMasi's medical condition

warrants his early release.

       Viewed most favorably to DiMasi, his argument is that he and

his family understand the medical need for monitoring while he

eats and that they will voluntarily assure he receives it when he

returns       home.     However,      the   court        is   not     persuaded         that    the

necessary       monitoring          would   be        consistently        provided       if     not

required as a condition of DiMasi's Supervised Release.

       Therefore, the court finds that, at least for a transitional

period,      it is reasonably necessary to assure the most effective

care for DiMasi that i t order that he be monitored at home,                                  while

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eating and drinking, by a member of his family or a healthcare

professional hired to do so.

     The conditions of DiMasi's home confinement will also allow

him to get needed medical care from doctors and hospitals of his
choice. As explained earlier, DiMasi's sentence is being reduced,

in part, to permit him to seek medical care from the doctors he

prefers--a liberty all inmates lose while in Bureau of Prisons

custody. The terms of his home confinement will allow him to leave

his residence immediately for any medical emergency and to schedule

appointments with the doctors of his choice. Because the court is
not ordering electronic monitoring, the Probation Office will be

able to approve DiMasi for doctor's appointments on short notice

if necessary.

     A six-month period of home confinement will also serve the

interest   of   avoiding    unwarranted     disparities   in   sentencing,

particularly as     compared to other        inmates   transitioning    from

Bureau of Prisons custody to the community. See §3553(a)(6). 18

U.S.C. §3624 (c) states that the Bureau of Prisons "shall, to the

extent practicable,    assure that a prisoner serving a term of

imprisonment spends a portion of the final months of that term




  DiMasi argued that if home confinement is ordered, it should be
for no more than six months. See Docket No. 887 at 6. His counsel
has stated that DiMasi will, in any event, "respect" any order of
home confinement.   Nov.   1,   2016 Tr.   at 33.


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{not to exceed 12 months) under conditions that will afford that

prisoner a reasonable opportunity to adjust to and prepare for

[his]    re-entry... into the community."        18 U.S.C.    §3624 (c).     The

statute further states that "the authority under this subsection

may be used to place a prisoner on home confinement for the shorter

of 10 percent of [his] term of imprisonment... or six months." Id.

Pursuant to this statute, it is Bureau of Prisons policy to place

eligible      prisoners     in   community      confinement    and/or      home

confinement for the last six months of their sentence to prepare

the inmate for re-entry into the community. See Federal Bureau of

Prisons,     Program   Statements    7320,01,    Home   Conf inement,   at    §1

(Sept. 6, 1995), and 7310.04, Community Corrections Center (CCC)

Utilization and Transfer Procedures, at §1 (Dec. 16, 1998).

        Ordinarily,    DiMasi would,   like other eligible inmates,           be

subject to such a six-month transition toward the end of his

sentence. The court finds that the usually required placement in

a Residential Re-entry Center is not appropriate. However, in view

of his medical needs,        it is particularly important that DiMasi

serve a six-month period of home confinement to facilitate his

transition to the community,         and to develop a record concerning

his current needs and capacity to function in the community, which

will    inform the court's decision concerning what conditions of

Supervised Release are appropriate after the usual transitional

period.

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     After the first three months of his home confinement, DiMasi

may move for a modification of this condition of his Supervised
Release if there is medical evidence to support such a                          request.

The court may consider replacing the remaining period of 24-hour

home confinement with a curfew. The court may also consider whether

DiMasi's period of home confinement should be extended beyond six

months.


     In addition,         the court is modifying DiMasi's conditions of

Supervised Release to address issues concerning his co-defendants,

Richard McDonough and Richard Vitale.                  Generally,     the court may

prohibit a defendant on Supervised Release from associating with

certain   individuals          if   the   condition    is   reasonably     related      to

interests addressed by §3553 (a) (1) and (a) (2) (B)-(D), and involves

no greater a deprivation of liberty than reasonably necessary to

serve the goals of Supervised Release.                  See 18 U.S.C.          §§3583(d)

and 3563(b)(6). Such a condition may prohibit activity that would

otherwise be legal. See United States v. Smith, 436 F. 3d 307, 312

(1st Cir.   2006);    United States v. Napulou,              593 F.    3d 1041,     1045

(9th Cir.   2010).

     McDonough       is    a    convicted     felon.    Pursuant      to   a    standard

condition   of   Supervised           Release    imposed     in   2011,        DiMasi   is

prohibited from associating with him.                  See Docket No.          674 at 4.

Vitale, an accused co-conspirator, was acquitted at trial of the

charges against him. However, the court considered in sentencing

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DiMasi     that his     corrupt conduct        involved causing hundreds of

thousands of dollars to be paid to Vitale for DiMasi's benefit.

See Sept. 9, 2011 Tr. at 23 {Docket No. 674 at 33). Some of that

money was used to fund a letter of credit for DiMasi. Id. Some of

it was to be held for DiMasi at Vitale's company, W.N. Id.

      If the court did not reduce DiMasi's sentence and he remained

in custody, DiMasi would not be able to work with Vitale for two

more years. In United States v. Smith, the Third Circuit upheld a

condition of Supervised Release that barred the defendant from

working for three years with any attorney or law firm where his

prior work at a law firm enabled him to commit the crime for which

he   was   sentenced.    See   445   F.   3d   713,   719   (3rd   Cir.   2006) .   A

condition of Supervised Release barring DiMasi from working with

Vitale is similarly justified and appropriate.

      The court is also ordering that DiMasi and members of his

family shall not receive money or anything of value, directly or

indirectly,    from Vitale or any individual or entity with which

Vitale is associated, while DiMasi is on Supervised Release. This

condition is necessary to minimize the risk that DiMasi will profit

from his crimes while serving his sentence.




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       The court understands,     however,      that DiMasi and Vitale have

long been close friends. Therefore, the court is not barring DiMasi

from seeing Vitale when DiMasi returns home.^"^

VII.   CONCLUSION


       For the reasons explained in this Memorandum,                the Motion

seeking a reduction of DiMasi's sentence to time-served is being

allowed.    An   amended    judgment,         with   modified    conditions   of

Supervised Release, will enter. It will allow the Bureau of Prisons

to release DiMasi in North Carolina,             to the custody of his wife

Deborah    DiMasi,   at   10:00   a.m.    on    November   22,   2016,   if   the

Probation Office has previously approved an itinerary for DiMasi's

immediate return to Massachusetts.


       This approach will expedite DiMasi's return home.                 It will

also assure that he is not transported to Massachusetts in the

usual manner by the Bureau of Prisons,                which would involve a

lengthy bus trip with stops at Bureau of Prisons facilities that

may not be familiar with, or able to meet, the medical needs which

justify DiMasi's early release. DiMasi shall return directly to




   The condition of Supervised Release concerning Vitale was not
raised by the court in its Orders or at the November, 2016 hearing.
The court has considered giving DiMasi notice of this proposed
condition and an opportunity to be heard concerning it. See F. R.
Civ. P. 32.1(c)(1). However, doing so would delay DiMasi's release
from custody. In these circumstances, DiMasi may, by December 7,
2016, move for reconsideration of the condition of Supervised
Release concerning Vitale that is now being imposed.

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his residence and promptly inform the Probation Office of his

arrival. The Probation Office will meet with Mr. and Mrs. DiMasi

at their residence to review the documents relating to DiMasi's

Supervised Release and have them executed.

VIII.    ORDER


        In view of the foregoing,     is hereby ORDERED that:

        1.   The Director of the Bureau of Prisons' Motion to Reduce

Term of Imprisonment to Time Served (Docket No. 872) is ALLOWED.

        2.   An Amended Judgment          consistent   with    this    Memorandum

shall    enter.


        3.   If notified by the Probation Office for the District of

Massachusetts that it has approved DiMasi's travel itinerary, the

Bureau of Prisons shall release DiMasi, in North Carolina, to the

custody of Deborah DiMasi on November 22, 2016, at 10:00 a.m.

        4.   Mr.    and   Mrs.   DiMasi    shall   return     to    Massachusetts

forthwith,       proceed directly to their residence,              and inform the

Probation Office when they have arrived home.




                                               UNITED STATES DISTRICT JUDGE




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